           Case 2:09-cr-00449-JAM Document 58 Filed 05/20/11 Page 1 of 2


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   MATTHEW G. MORRIS
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2700
 5
 6
 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                     EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )        2:09-CR-00449-JAM
                                   )
12                  Plaintiff,     )        FINAL ORDER OF FORFEITURE
                                   )
13        v.                       )
                                   )
14   JOSEPH HATFIELD, and          )
     JAHMEELAH SULLINS,            )
15                                 )
               Defendants.         )
16   ______________________________)
17        WHEREAS, on or about February 25, 2011, this Court entered a
18   Preliminary Order of Forfeiture pursuant to the provisions of 18
19   U.S.C. §§ 982(a)(2)(B) and 1029(c)(1)(C), based upon the plea
20   agreement entered into between plaintiff and defendant Joseph
21   Hatfield forfeiting to the United States the following property:
22             a)   Two reader/encoders;
               b)   Skimmer;
23             c)   Approximately $26,900 in U.S. Currency; and
               d)   Gold and diamond earrings.
24
25        AND WHEREAS, beginning on March 3, 2011, for at least 30
26   consecutive days, the United States published notice of the
27   Court's Orders of Forfeiture on the official internet government
28   forfeiture site www.forfeiture.gov.      Said published notices


                                      1                Final Order of Forfeiture
           Case 2:09-cr-00449-JAM Document 58 Filed 05/20/11 Page 2 of 2


 1   advised all third parties of their right to petition the Court
 2   within sixty (60) days from the first day of publication of the
 3   notices for a hearing to adjudicate the validity of their alleged
 4   legal interest in the forfeited property;
 5        AND WHEREAS, the Court has been advised that no third party
 6   has filed a claim to the subject property, and the time for any
 7   person or entity to file a claim has expired.
 8        Accordingly, it is hereby ORDERED and ADJUDGED:
 9        1.    A Final Order of Forfeiture shall be entered forfeiting
10   to the United States of America all right, title, and interest in
11   the above-listed property pursuant to 18 U.S.C. §§ 982(a)(2)(B)
12   and 1029(c)(1)(C), to be disposed of according to law, including
13   all right, title, and interest of Joseph Hatfield.
14        2.    All right, title, and interest in the above-listed
15   property shall vest solely in the name of the United States of
16   America.
17        3.    The U. S. Marshals Service shall maintain custody of and
18   control over the subject property until it is disposed of
19   according to law.
20        SO ORDERED this 19th day of May, 2011.
21
22                                    /s/ John A. Mendez
                                      JOHN A. MENDEZ
23                                    United States District Judge
24
25
26
27
28


                                      2                Final Order of Forfeiture
